
45 So.3d 934 (2010)
Marcus RAINFORD, Appellant,
v.
STATE of Florida, Appellee.
No. 4D08-4402.
District Court of Appeal of Florida, Fourth District.
October 13, 2010.
Carey Haughwout, Public Defender, and John Pauly, Assistant Public Defender, West Palm Beach, for appellant.
No appearance for appellee.
PER CURIAM.
We affirm appellant's conviction, and grant the public defender's motion to withdraw pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967). We remand, however, for the trial court to correct a scrivener's error, so as to correctly reflect that appellant was convicted after a jury trial; he did not enter a plea of guilty.
Affirmed; Remanded with instructions.
WARNER, POLEN and LEVINE, JJ., concur.
